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           United States Court of Appeals
                for the Fifth Circuit                    United States Court of Appeals
                                                                  Fifth Circuit

                             ___________                        FILED
                                                            July 19, 2023
                              No. 22-10575                 Lyle W. Cayce
                             ___________                        Clerk

    In the Matter of Highland Capital Management, L.P.

                                                                 Debtor,

    NexPoint Advisors, Appellant/Creditor/Party in
    Interest 11 U.S.C. 1109(b),

                                                            Appellant,

                                 versus

    Pachulski Stang Ziehl & Jones, L.L.P.,
    Appellee/Retained Professional; Wilmer Cutler
    Pickering Hale and Dorr, L.L.P.; FTI Consulting,
    Incorporated; Teneo Capital, L.L.C.; Sidley Austin,
    L.L.P.,

                                                             Appellees,
                             ___________

    NexPoint Advisors, L.P.,

                                                            Appellant,

                                 versus

    Wilmer Cutler Pickering Hale and Dorr, L.L.P.,

                                                              Appellee,
                             ___________
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                               No. 22-10575




    NexPoint Advisors, L.P.,

                                                           Appellant,

                                 versus

    Teneo Capital, L.L.C.,

                                                            Appellee,
                             ___________

    NexPoint Advisors, L.P.,

                                                           Appellant,

                                 versus

    Sidley Austin, L.L.P.,

                                                            Appellee,
                             ___________

    NexPoint Advisors, L.P.,

                                                           Appellant,

                                 versus

    FTI Consulting, Incorporated,

                                                            Appellee.




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                                  No. 22-10575




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                  Appeal from the United States District Court
                      for the Northern District of Texas
                           USDC No. 3:21-CV-3086
                           USDC No. 3:21-CV-3088
                           USDC No. 3:21-CV-3094
                           USDC No. 3:21-CV-3096
                           USDC No. 3:21-CV-3104
                   ____________________________

    Before Higginbotham, Southwick, and Willett, Circuit Judges.

                              JUDGMENT

          This cause was considered on the record on appeal and was argued by
    counsel.
          IT IS ORDERED and ADJUDGED that the judgment of the
    District Court is AFFIRMED.
          IT IS FURTHER ORDERED that each party bear its own costs
    on appeal.




                                            Certified as a true copy and issued
                                            as the mandate on Aug 10, 2023
                                            Attest:
                                            Clerk, U.S. Court of Appeals, Fifth Circuit




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